                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF MISSOURI

SCOTT AND RHONDA BURNETT,                          )
RYAN HENDRICKSON, JAROD                            )
BREIT, SCOTT TRUPIANO, JEREMY                      )
KEEL, FRANCES HARVEY, HOLLEE                       )
ELLIS, and SHELLY DREYER, on                       )
behalf of themselves and all others                )
similarly situated,                                )
                                                   )         Case No.: 4:19-cv-00332-SRB
                Plaintiffs,                        )
                                                   )                 CLASS ACTION
        v.                                         )
                                                   )
THE NATIONAL ASSOCIATION OF                        )
REALTORS, REALOGY HOLDINGS                         )
CORP., HOMESERVICES OF                             )
AMERICA, INC., BHH AFFILIATES,                     )
LLC, HSF AFFILIATES, LLC, RE/MAX                   )
LLC, and KELLER WILLIAMS                           )
REALTY, INC.                                       )

                Defendants.

                              CERTIFICATE OF SERVICE

       I hereby certify that on June 13, 2022, Defendant Keller Williams Realty, Inc. (“Keller

Williams”) served a production of documents consisting of documents numbered KWRI-WDMO-

00215013 through KWRI-WDMO-00215022 via electronic mail and secure file transfer to all

counsel of record.

                                           Respectfully submitted by:

                                           BROWN & JAMES, P.C.
                                           /s David R. Buchanan
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        Case 4:19-cv-00332-SRB Document 800 Filed 06/14/22 Page 1 of 3
                            AND

                            HOLLAND & KNIGHT, LLP

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                            ATTORNEYS FOR DEFENDANT
                            KELLER WILLIAMS REALTY, INC.




                              2

Case 4:19-cv-00332-SRB Document 800 Filed 06/14/22 Page 2 of 3
                                  CERTIFICATE OF SERVICE

          I HEREBY certify that on this 14th day of June, 2022, I electronically filed the above and

foregoing using the CM/ECF system, which will send a notice of electronic filing to all counsel of

record.


                                               /s/ David R. Buchanan
                                               ATTORNEYS FOR DEFENDANT
                                               KELLER WILLIAMS REALTY, INC.




                                                  3

           Case 4:19-cv-00332-SRB Document 800 Filed 06/14/22 Page 3 of 3
